        CASE 0:22-cr-00008-PJS-BRT Doc. 10 Filed 01/27/22 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Criminal No. 22-08 (PJS/BRT)

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                     ORDER OF DETENTION
       v.

 MICHAEL THOMAS PRALL,

                     Defendant.


      This matter came before the Court for an initial appearance on January 26,

2022. The Defendant appeared in custody, via video conference, and was represented

by First Assistant Federal Defender Manvir Atwal.           The United States was

represented by Assistant United States Attorney Alexander D. Chiquoine. This

hearing was held via video conference due to the COVID-19 pandemic.                The

Defendant was informed of his right to an in-person hearing and after consulting with

his attorney, waived that right and consented to proceeding via video conference.

      During the initial appearance, the United States moved that the Defendant be

detained. After having had an opportunity to consult with his attorney prior to the

initial appearance, the Defendant elected to waive his right to a detention hearing for

the time being due to pending holds in the State of Minnesota. However, the parties

and the Court agreed that should the Defendant’s circumstances change, he may

move to reopen the subject of his detention.

      In light of the Defendant’s waiver, the Pretrial Services bond report

recommending detention, Federal Rule of Criminal Procedure 5(d)(3), and the
           CASE 0:22-cr-00008-PJS-BRT Doc. 10 Filed 01/27/22 Page 2 of 2




standards and factors set forth in 18 U.S.C. § 3142, the Court grants the United

States’ motion for detention and orders that the Defendant be detained pending trial.

The Court finds that no condition or combination of conditions will ensure the

Defendant’s appearance at future proceedings, or the safety of the community, based

on the present record before the Court.        However, as stated before, should the

Defendant’s circumstances change, he may move to reopen the issue of his detention.

See 18 U.S.C. §§ 3142(f), 3145.

      Based on the foregoing reasons, IT IS HEREBY ORDERED that:

      1.       The motion of the United States for detention of Defendant is

GRANTED;

      2.       Defendant is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

      3.       Defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

      4.       Upon Order of the Court or request by the United States Attorney, the

person in charge of the corrections facility in which the defendant is confined shall

deliver him to the United States Marshal for the purpose of appearance in connection

with a Court proceeding.


Dated: January 26, 2022                  s/ Hildy Bowbeer
                                         The Honorable Hildy Bowbeer
                                         United States Magistrate Judge




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